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   Christopher Celentino (State Bar No. 131688)
 2 Jonathan Serrano (State Bar No. 333225)
   DINSMORE & SHOHL LLP
 3 655 West Broadway, Suite 800
   San Diego, CA 92101
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 6 jonathan.serrano@dinsmore.com
 7 Proposed Special Counsel to Richard A. Marshack,
   Chapter 11 Trustee
 8
 9
10                          UNITED STATES BANKRUPTCY COURT
11                           CENTRAL DISTRICT OF CALIFORNIA
12                                    SANTA ANA DIVISION

13
                                                      Case No.: 8:23-bk-10571-SC
14 In re:
                                                      Chapter 11
15 THE LITIGATION PRACTICE GROUP P.C.,
                                                      NOTICE OF FINAL HEARING ON
16          Debtor.                                   TRUSTEE’S EMERGENCY MOTION
                                                      (I) FOR ENTRY OF INTERIM ORDER:
17                                                    (A) AUTHORIZING THE TRUSTEE TO
                                                      OBTAIN POST-PETITION FINANCING
18                                                    AND SUPERPRIORITY
                                                      ADMINISTRATIVE EXPENSE CLAIM
19                                                    PURSUANT TO 11 U.S.C. § 364; AND
                                                      (B) SETTING FINAL HEARING; AND
20                                                    PURSUANT TO FINAL HEARING,
                                                      (II) FOR ENTRY OF FINAL ORDER
21                                                    APPROVING POST-PETITION
                                                      FINANCING ON A FINAL BASIS
22
                                                      Date:    July 20, 2023
23                                                    Time:    9:30 a.m.
                                                      Judge:   Hon. Scott C. Clarkson
24                                                    Place:   Courtroom 5C
                                                               411 W. Fourth Street
25                                                             Santa Ana, CA 92701
26
27
28
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 1 TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY
 2 JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL SCHEDULED
 3 CREDITORS AND THEIR COUNSEL OF RECORD:
 4          NOTICE IS HEREBY GIVEN that, on June 16, 2023, Richard A. Marshack, the Chapter
 5 11 Trustee (the "Trustee") for the bankruptcy estate of The Litigation Practice Group P.C. (the
 6 “Debtor”) in the above-captioned bankruptcy case (the "Case"), filed a motion (the “Motion”), on an
 7 emergency basis, for entry of an interim order and final order (1) authorizing the Trustee to obtain
 8 superpriority financing, (2) scheduling a final hearing; and (3) granting related relief, as further
 9 described in the Motion.
10          NOTICE IS FURTHER GIVEN that, on June 20, 2023, on the 3:00 p.m. calendar, in
11 Courtroom 5C of the United States Bankruptcy Court, located at 411 West Fourth Street, Santa Ana,
12 California 92701, the Honorable Scott C. Clarkson, United States Bankruptcy Judge, conducted an

13 interim hearing on the Motion. Following the hearing, on June 22, 2023, the Court entered the Interim
14 Order Granting Emergency Superpriority Financing by the Chapter 11 Trustee [Docket No. 131]
15 (the “Interim Order”), thereby granting the Motion on an interim basis.
16          NOTICE IS FURTHER GIVEN that a hearing to consider the Motion on a final basis will
17 take place at the same location on July 20, 2023, at 9:30 a.m.
18          NOTICE IS FURTHER GIVEN that the Motion is made pursuant to 11 U.S.C. §§ 105(a),
19 363, and 364 and Rules 4001 and 9014 of the Federal Rules of Bankruptcy Procedure on the grounds
20 that the requested relief is necessary to preserve the value of the Debtor’s business by paying both
21 legal and nonlegal costs to operate the business and paying past due expenses including payroll,
22 DebtPayPro software, mail services, and refunds. Nothing therein will allow or authorize the payment
23 of any of the Estate’s professional fees, and all expenses must be approved by the Trustee.
24          NOTICE IS FURTHER GIVEN that the Motion is based on (a) the Notice of Motion and

25 Motion, Memorandum of Points and Authorities, and Declaration of Richard A. Marshack, (b) the
26 pleadings on file in this Case and related adversary proceeding of which the Court is requested to
27 take judicial notice, and (c) such other pleadings and evidence as may be properly submitted in
28 connection with the Motion.

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 1         NOTICE IS FURTHER GIVEN that, pursuant to Local Bankruptcy Rule 9013-1(f), any
 2 response or opposition to the Motion must be (i) in writing and include a complete written statement
 3 of all reasons in opposition thereto or in support or joinder thereof, declarations and copies of all
 4 photographs and documentary evidence on which the responding party intends to rely and any
 5 responding memorandum of points and authorities, and (ii) filed with the Court and served on the
 6 Trustee, the Debtor, and the Office of the United States Trustee no later than 14 days prior to the
 7 hearing on this Motion.
 8            NOTICE IS FURTHER GIVEN that, pursuant to Local Bankruptcy Rule 9013-
 9 1(h), the failure to file and serve a timely response to the Motion may be deemed by the Court
10 to be consent to the granting of the relief requested in the Motion.
11
12 Dated: June 26, 2023                       Respectfully submitted,
13                                            DINSMORE & SHOHL LLP
14
                                              By:       /s/ Jonathan Serrano_____ __ _
15                                                  Christopher B. Ghio
                                                    Christopher Celentino
16                                                  Jonathan Serrano
                                                    Proposed Special Counsel to Richard A. Marshack,
17                                                  Chapter 11 Trustee
18
19
20
21
22
23
24

25
26
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28
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                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address
is:     655 W. Broadway, Suite 800, San Diego, California 92101

A true and correct copy of the foregoing document entitled (specify):

Notice of Final Hearing on Trustee’s Emergency Motion (I) for Entry of Interim Order: (A)
Authorizing the Trustee to Obtain Post-Petition Financing and Superpriority Administrative
Expense Claim Pursuant to 11 U.S.C. § 364; and (B) Setting Final Hearing; and Pursuant to Final
Hearing, (II) for Entry of Final Order Approving Post-Petition Financing on a Final Basis will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b)
in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
document. On June 26, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding
and determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at
the email addresses stated below:

                                                                    Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On June 26, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

        Grobstein Teeple LLP
        Grobstein Teeple LLP
        23832 Rockfield Blvd suite 245
        Lake Forest, CA 92630

        Marshack Hays LLP
        870 Roosevelt
        Irvine, CA 92620

        Jason Patterson Stopnitzky
        52 Cupertino Circle
        Aliso Viejo, CA 92656                                                   Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on June 26, 2023, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge
here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
than 24 hours after the document is filed.

                   JUDGE'S COPY
                   The Honorable Scott C. Clarkson
                   United States Bankruptcy Court
                   Central District of California
                   Ronald Reagan Federal Building and Courthouse
                   411 West Fourth Street, Suite 5130 / Courtroom 5C
                   Santa Ana, CA 92701-4593


     This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

August 2010                           F 9013-3.1.PROOF.SERVICE
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                                                                                Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  June 26, 2023                 Jonathan Serrano                                         /s/ Jonathan Serrano
  Date                          Printed Name                                             Signature




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1.          TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):


           Eric Bensamochan eric@eblawfirm.us, G63723@notify.cincompass.com
           Ronald K Brown ron@rkbrownlaw.com
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           Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
           Randall Baldwin Clark rbc@randallbclark.com
           Leslie A Cohen leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com
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           D Edward Hays ehays@marshackhays.com,
            ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@
            ecf.courtdrive.com
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           Richard A Marshack (TR) pkraus@marshackhays.com,
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           Paul R Shankman PShankman@fortislaw.com, info@fortislaw.com
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           Andrew Still astill@swlaw.com, kcollins@swlaw.com
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           Sharon Z. Weiss sharon.weiss@bclplaw.com,
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2.      ADDITIONAL CREDITORS TO BE SERVED BY UNITED STATES MAIL:


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 Palatine, IL 60055
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 2500 S. Highland Ave, Ste 200
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 Los Angeles, CA 90051
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 West Bloomfield Township, MI 48324-3949
 Arizona Dept of Economic Security
 PO Box 6028
 Phoenix, AZ 85005



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 Arkansas Department of Finance and Administration
 Revenue Legal Counsel
 P.O. Box 1272, Rm. 2380
 Little Rock, AR 72203-1272
 Arkansas Dept of Finance & Admin
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 Business Centers of America
 1100 Sir Francis Drake Blvd
 Ste 1
 Kentfield, CA 94904
 California Dept. of Tax and Fee Administration
 Collections Support Bureau, MIC: 55
 PO Box 942879
 Sacramento, CA 942879-0055
 California Franchise Tax Board
 PO Box 942857
 Sacramento, CA 94257
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 Carolyn Beech
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 400 Dorla Court
 Zephyr Cove, NV 89448



 Cory Reade Dows and Shafer
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 Credit Reporting Service Inc
 548 Market St, Suite 72907
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 CT Corporation - Inv
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 1900 E Golf Road, Suite 550
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 5075 Lower Valley Road
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 Diverse Capital LLC
 323 Sunny Isles Blvd, Ste 503
 Sunny Isles, FL 33154
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 Sacramento, CA 95826


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 Suite 703
 San Diego, CA 92103



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 Indiana Department of Revenue
 100 N. Senate Ave
 Indianapolis, IN 46204
 Indiana Dept of Revenue
 PO Box 1028
 INDIANAPOLIS, IN 46206
 Internal Revenue Service (IRS)
 Internal Revenue Service
 Ogden, UT 84201
 Ivy Burden-Pope
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 Apt 207
 Altamonte Springs, FL 32701
 JACLYN GOMEZ
 109 Tottenham Lane
 Elk Grove Village, IL 60007
 James Hammett
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 John Charles Porter
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 Irvine, CA 92614
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 Murrieta, CA 92562
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 Orange, CA 92869
 Karen Suell
 c/o Nathan C. Volheim, Esq
 Sulaiman Law Group
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 Lombard, IL 60148
 Kari B. Coniglio, Chapter 7 Trustee
 200 Public Square, Suite 1400
 Cleveland, OH 44114

 Kathleen Lacey
 c/o David Chami, Esq.
 Price Law Group
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 Kathleen Scarlett
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 Luftman Heck & Assoc
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 Kelly Dooley
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 Kenneth Topp
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 Berkeley, CA 94704
 Laura Ceva
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 Candler, NC 28715
 LexisNexus
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 Irvine, CA 92618

 LHH RS
 c/o Steven Rebidas
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 BLDG 800
 Jacksonville FL 32246
 Liberty Mutual
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 Chicago, IL 60680
 Lisa Gore
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 Chicago, IL 60608


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 Marc Lemauviel - Allegra
 326 MacNeil Way
 Weaverville, NC 28787
 Marich Bein LLC
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 Ste 2669
 New York, NY 10005
 MarkSYS Holdings, LLC
 3725 Cincinnati Ave
 Suite 200
 Rocklin, CA 95765
 MC DVI Fund 1, LLC; MC DVI Fund 2, LLC
 1598 Cottonwood Dr
 Glenview, IL 60026
 MDL Group c/o Executive Center LLC
 5960 South Jones Boulevard
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 Melissa L. and Shiva L. Sooknanan
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 Michael and Sarah Pierce
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 Michael Schwartz
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 Michael Yancey III
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 812 Sumner Street
 Addison, IL 60101
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 Mississippi Department of Revenue
 ATTN: Bankruptcy Section
 P. O. Box 22808
 Jackson, MS 39225-2808
 Mississippi Dept of Revenue
 PO Box 23075
 Jackson, MS 39225
 Natalka Palmer
 217 NW Riverfront Street
 Bend, OR 97703
 Nationwide Appearance Attorneys
 5737 Kanan Rd #628
 Agoura Hills, CA 91301
 Netsuite-Oracle
 2300 Oracle Way
 Austin, TX 78741
 Nevada Dept of Taxation
 1550 College Parkway, Suite 115
 Carson City, NV 89706
 OHP-CDR, LP
 c/o Quinn Emanuel Urquhart & Sullivan LL
 865 S. Figueroa Street, 10th Floor
 Los Angeles, CA 90017
 Outsource Accelerator Ltd
 City Marque Limited, Unit 8801-2
 Bldg 244-248 Des Voeux Rd
 Central Hong Kong
 Paola Gomez
 19542 Pompano Ln
 103
 Huntington Beach, CA 92648
 Peter Schneider
 12115 NE 165th PL
 Bothell, WA 98011-1211
 Phillip A. Greenblatt, PLLC
 P.O. Box 4270
 Suite 200
 Southfield, MI 48037
 Phuong Trinh
 2128 W Cherry Dr
 Orange, CA 92868

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 Pitney Bowes
 PO Box 981026
 Boston, MA 02298
 Rapid Credit Inc
 3558 Round Barn Blvd
 Suite 200
 Santa Rosa, CA 95403
 Rebecca S. Coulter
 358 Cass Pl
 Canton, IL 61520
 Ronald W. Moore
 101 Aberdeen Chase Dr., Apt. D
 Easley, SC 29640
 Salvatore Porcaro
 72 Dorset Drive
 Clark, NJ 07066
 SBS Leasing A Program of De Lage Landen
 PO Box 41602
 Philadelphi, PA 19101
 Security Solutions
 10911 Bloomfield St
 Los Alamitos, CA 90720
 Sharp Business Systems
 8670 Argent St
 Santee, CA 92071
 Sherri Chen
 3164 East Hazelwood
 Unit A
 Orange, CA 92869
 STATE OF NEVADA DEPARTMENT OF TAXATION
 700 E WARM SPRINGS RD STE 200
 LAS VEGAS, NV 89119
 Steve Malu
 2582 Se 18th Ave
 Gainesville FL 32641
 Streamline Performance Inc
 1551 N Tustin, #555
 Santa Ana, CA 92705
 TaskUs Holdings, Inc.
 1650 Independence Dr
 New Braunfels, TX 78132
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 Thanhhang Nguyen
 2128 W Cherry Dr
 Orange, CA 92868
 The Bankruptcy Estate of
 Steven Robert Verzal
 1251 North Eddy Street
 Suite 203
 South Bend IN 46617
 The Placide Group Co
 624 Brookwood Lane
 Maitland, FL 32751
 Thomas Ray
 2312 Platinum Dr
 Sun City Center, FL 33573
 Thomson Reuters
 610 Opperman Drive
 Eagen, MN 55123
 Tustin Executive Center
 1630 S Sunkist Steet
 Ste A
 Anaheim, CA 92806



 Twilio, Inc
 101 Spear Street
 Suite 500
 San Francisco, CA 94105
 Unified Global Research Group
 1660 HOTEL CIR N STE S620
 SAN DIEGO, CA 92108
 Utah State Tax Commission
 210 N 1950 W
 Salt Lake City, UT 84134
 Validation Partners LLC
 1300 Sawgrass Pkwy
 Ste 110
 Sunrise, FL 33323
 WA State Department of Labor and Industries
 Bankruptcy unit
 PO Box 44171
 Olympia, WA 98504


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 Wisconsin Dept of Revenue
 PO Box 8901
 Madison, WI 53708




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